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              IN THE UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF COLUMBIA


                                     )
United States                        )
                                     )
                v.                   )               NO. 1:21cr140
                                     )
Larry Brock                          )
                                     )
                                     )
       Defendant.                    )

                MOTION TO EXTEND BOP SELF SURRENDER DATE

                                     BACKGROUND

       Mr. Brock moved for release pending appeal, which this court denied on April 20,

2023 (yesterday). Mr. Brock has filed his notice of appeal with the Circuit Court and his

surrender date at BOP is April 25.

                                      ARGUMENT

       It is well accepted that a district court has authority to make reasonable extension

of BOP surrender dates. United States v. Hunter Seefried, 1:21-cr-287, ECF 126-27

(granting surrender extension in January 6 case for defendant to “spend the Christmas

holiday period with his mother”); see also, United States v. Bryant, 8:22-cr-308-DLB

(D.Md. April 17, 2023)(granting surrender extension due to apparent paperwork mix-up

at BOP).

       Mr. Brock respectfully requests that the Court grant him a self-surrender

extension to request release from the Circuit Court and determine whether further

proceedings in the Circuit Court may materially change this Court’s analysis. Such an

action would be appropriate because, as the Court acknowledges, “[t]he parties appear to
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agree what Brock is not a flight risk or a danger to the community.” ECF 107 at 4.

       Moreover, the custody status of non-danger, non-flight risk defendants awaiting

the final outcome of Fischer/Miller is an issue the Circuit Court is bound to take up at

some point. It would be an exercise in prudence to allow the Circuit Court to pass on this

question before committing such individuals to BOP.

       Finally, even a short delay of Mr. Brock’s surrender date will give a chance to

gain information this Court has identified as material to the release question. As the

Court stated, “this Court cannot look into a crystal ball and determine whether the D.C.

Circuit will in fact review the Fischer decision en banc.” However, the extent which

Fischer/Miller will undergo further review will become apparent in short order. Any

request for panel rehearing would have to be filed by May 22 under Circuit Rule 35 (45

days after entry of April 7 judgment) at which point the court may request a response.

       Given the importance of the case and the fractured nature of the panel decision, it

seems likely that, should the Court desire a response to the petition, it would make that

request in fairly short order after the petition is filed. If the court does request a response

from the government, is will be a good indication that it is taking the issues seriously. In

such a circumstance, the rationale of district court cases granting release pending appeal

in § 1512 cases will again become highly pertinent. See, e.g. United States v. Seefried,

21-cr-287 (D.D.C. 2023)(discussed extensively in briefs on release pending appeal).

       Mr. Brock submits that a delay of his self-surrender until May 29 is likely to

reveal whether significant further proceedings in Miller/Fischer will take place. By that

time any petitions for rehearing will have been filed and the Circuit Court will have had

at least a week to consider whether to a require a response. Such an approach would
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avoid inflicting undue prejudice on Mr. Brock for having the misfortune to have his

initial surrender date fall in the brief interregnum between initial judgment and action on

a petition for rehearing. The action will have virtually no downside given Mr. Brock’s

flawless performance on supervised release and uncontested no-danger no-flight risk

status.




                                     CONCLUSION

      For the foregoing reasons, Mr. Brock respectfully requests this Court to extend his

surrender date until May 29..




                                                     Respectfully Submitted,

                                                     By:

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                     CERTIFICATE OF SERVICE

 I have served this filing on the government through the ecf system.



                                              Respectfully Submitted,



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